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               UNITED STATES COURT OF INTERNATIONAL TRADE

________________________________________________
TRINA SOLAR (CHANGZHOU) SCIENCE &                )
TECHNOLOGY CO., LTD., YANCHENG TRINA             )
SOLAR GUONENG SCIENCE & TECHNOLOGY CO., )
LTD., TRINA SOLAR (SU QIAN) TECHNOLOGY CO., )
LTD., TRINA SOLAR YIWU TECHNOLOGY CO.,           )
LTD., TRINA SOLAR CO., LTD., TRINA SOLAR         )                 Court No. 23-00219
(YANCHENG DAFENG) CO., LTD., TRINA SOLAR        )
SCIENCE & TECHNOLOGY (YANCHENG) CO., LTD., )
TRINA SOLAR (SUQIAN) OPTOELECTRONICS CO., )
LTD., TRINA SOLAR (CHANGZHOU)                   )
OPTOELECTRONIC DEVICE CO., LTD.,                 )
CHANGZHOU TRINA SOLAR YABANG ENERGY              )
CO., LTD., HUBEI TRINA SOLAR ENERGY CO., LTD., )
TURPAN TRINA SOLAR ENERGY CO., LTD.,            )
TRINA SOLAR (HEFEI) SCIENCE AND                  )
TECHNOLOGY CO., LTD., CHANGZHOU HESAI            )
PV RIBON MATERIALS CO., LTD., CHANGZHOU          )
HEWEI NEW MATERIAL TECHNOLOGY CO., LTD., )
CHANZHOU TRINA HEZHONG PV CO., LTD., AND )
CHANGZHOU TRINA PV RIBBONS MATERIALS            )
CO., LTD.,                                      )
                                                 )
                        Plaintiffs,              )
             v.                                  )
                                                 )
UNITED STATES,                                   )
                                                 )
                        Defendant.               )
________________________________________________)


                                        COMPLAINT

       Pursuant to Rule 3(a)(2) of the Rules of the United States Court of International Trade,

Plaintiffs, Trina Solar (Changzhou) Science & Technology Co., Ltd., Yancheng Trina Solar

Guoneng Science & Technology Co., Ltd., Trina Solar (Su Qian) Technology Co., Ltd., Trina

Solar Yiwu Technology Co., Ltd., Trina Solar Co., Ltd., Trina Solar (Yancheng Dafeng) Co.,

Ltd., Trina Solar Science & Technology (Yancheng) Co., Ltd., Trina Solar (Suqian)



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Optoelectronics Co., Ltd., Trina Solar (Changzhou) Optoelectronic Device Co., Ltd., Changzhou

Trina Solar Yabang Energy Co., Ltd., Hubei Trina Solar Energy Co., Ltd., Turpan Trina Solar

Energy Co., Ltd., Trina Solar (Hefei) Science and Technology Co., Ltd., Changzhou Hesai PV

Ribbon Materials Co., Ltd., Changzhou Hewei New Material Technology Co., Ltd., Changzhou

Trina Hezhong PV Co., Ltd., and Changzhou Trina PV Ribbon Materials Co., Ltd. (collectively,

“Trina”), by and through their counsel, allege and state as follows:

                                         JURISDICTION

       1.       Plaintiffs bring this action pursuant to, and in accordance with, Section

516A(a)(2) of the Tariff Act of 1930, as amended (codified at 19 U.S.C. § 1516a(a)(2)),

contesting the final results issued by the U.S. Department of Commerce (“Commerce”) in

Crystalline Silicon Photovoltaic Products From the People's Republic of China, 88 Fed. Reg.

62770 (Dep’t Commerce, Sept. 13, 2023) (final results of countervailing duty administrative

review; 2021) (“Final Results”), as they apply specifically to Plaintiffs. This Court has

jurisdiction over this matter under 28 U.S.C. § 1581(c) and 19 U.S.C. § 1516a(a)(2).

                                           STANDING

       2.       Plaintiffs, Trina, are foreign producers and exporters of subject merchandise and

were respondents in the administrative review that is contested here. Plaintiffs therefore are

interested parties within the meaning of 19 U.S.C. § 1677(9)(A). Plaintiffs, Trina actively

participated in the administrative review through submission of factual information and/or

written argument and thus are parties to the proceeding as defined in 19 C.F.R. § 351.102(b). As

interested parties that actively participated in the underlying administrative proceeding, Plaintiffs

have standing pursuant to 19 U.S.C. § 1516a(d) and 28 U.S.C. § 2631(c).




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                                         TIMELINESS

       3.       The subject Final Results, which are being challenged herein, were published in

the Federal Register on September 13, 2023. Final Results, 62770 (Dep’t Commerce, Sept. 13,

2023). On October 13, 2023, within 30 days after the publication of the subject final results,

Plaintiffs filed a summons to initiate this action. Accordingly, this action was commenced

within the period specified in 19 U.S.C. § 1516a(a)(2)(B)(iii). This Complaint is being filed

within 30 days after the date on which the summons was filed. Therefore, according to the

provisions of 19 U.S.C. § 1516a(a)(2)(A)(i), 28 U.S.C. § 2636(c), and Rule 3(a)(2) of the Rules

of the U.S. Court of International Trade, this action has been timely brought.

                                   STANDARD OF REVIEW

       4.       This Court reviews final determinations issued by Commerce pursuant to 19

U.S.C. § 1675(a) to determine whether they are “unsupported by substantial evidence on the

record, or otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i).

                                  PROCEDURAL HISTORY

       5.       On February 18, 2015, Commerce published in the Federal Register the final

countervailing duty order covering crystalline silicon photovoltaic products from the People’s

Republic of China. See Crystalline Silicon Photovoltaic Products From the People’s Republic of

China, 80 Fed. Reg. 8,592 (Dep’t Commerce February 18, 2015) (countervailing duty order, and

amended final countervailing duty determination and countervailing duty order) (hereinafter

“CVD Order”).

       6.       On February 28, 2022, pursuant to Commerce’s notice of opportunity to request

an administrative review, Trina Solar (Changzhou) Science and Technology Co., Ltd., filed a

timely request for Commerce to conduct an administrative review. See Antidumping or




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Countervailing Duty Order, Finding, or Suspended Investigation; Opportunity to Request

Administrative Review, 87 Fed. Reg. 7712, 7114 (Feb. 8, 2022), Letter from Trade Pacific PLLC

to Sec’y Commerce, re: “Crystalline Silicon Photovoltaic Products from the People’s Republic

of China - Request for Administrative Review” (Dep’t Commerce Feb. 28, 2022).

       7.       On April 12, 2022, Commerce published a notice initiating the seventh

countervailing duty administrative review of solar products from the PRC covering the period

December 1, 2021, through December 31, 2021. Initiation of Antidumping and Countervailing

Duty Administrative Reviews, 87 Fed. Reg. 21,619 (Dep’t Commerce Apr. 12, 2022).

(“Initiation Notice”). Specifically, Commerce initiated an administrative review of the

countervailing duty rate of Trina Solar (Changzhou) Science & Technology Co., Ltd.

       8.       In the Preliminary Results, Commerce added international delivery charges to

construct the benchmarks to measure the adequacy of remuneration of Trina’s purchases of

various production inputs, including polysilicon, solar glass, and aluminum extrusions. See

Certain Crystalline Silicon Photovoltaic Products From the People’s Republic of China, 88 Fed.

Reg. 14,331 (Dep’t Commerce Mar. 8, 2023) (preliminary results of countervailing duty

administrative review; 2021) (“Preliminary Results”), and accompanying Decision

Memorandum for the Preliminary Results of the Countervailing Duty Administrative Review,

Certain Crystalline Silicon Photovoltaic Products from the People’s Republic of China; 2021

(Feb. 28, 2023), at 17 (“Prelim. Decision Memo”). Specifically, in the Preliminary Results,

Commerce calculated a benchmark for international freight by averaging data from two sources of

ocean freight pricing during the POR: Descartes and Xeneta. Id.

       9.       In the Preliminary Results, Commerce calculated an ad valorem countervailing

duty rate of 8.75 percent for Trina.

       10.      On August 10, 2023, Commerce issued a post-preliminary results decision


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memorandum, in which it determined that certain Trina entities were uncreditworthy, and in

which it calculated a benefit for new subsidy allegations, including the alleged provision of

silicon wafers for LTAR and the alleged provision of international ocean shipping for LTAR.

See Decision Memorandum for the Post-Preliminary Results of the Administrative Review of the

Countervailing Duty Order on Certain Crystalline Silicon Photovoltaic Products from the

People’s Republic of China; 2021 (Aug. 10, 2023), at 3, 12–14. As a result of these

determinations, Commerce calculated an ad valorem subsidy rate for the post-preliminary results

of 9.68 percent for Trina.

       11.     On August 18, 2023, Plaintiffs submitted a case brief for Commerce’s

consideration prior to issuing the Final Results. In its Case Brief, Trina made various arguments

for Commerce’s consideration, including contesting Commerce’s calculation of the benchmark

for ocean freight that was used to calculate the benefit for Trina’s alleged purchases of various

production inputs for less than adequate remuneration (“LTAR”). Specifically, Trina argued that

Commerce’s benchmark calculations should not have averaged the Descartes ocean freight data

with the Xeneta data because the Descartes data is not reflective of a “world market price” since it

only includes prices between ports located on the East Coast of the United States and Shanghai,

China. Trina’s case brief incorporated those arguments by reference in its case brief to the extent

they do not conflict directly with arguments made by Plaintiffs.

       12.     On the same day, the Government of China filed a case brief making various

arguments for Commerce’s consideration, including Commerce’s decision to countervail the

alleged provision of certain inputs for LTAR based on adverse facts available (“AFA”) and

Commerce’s application of AFA to the alleged provision of electricity for LTAR.

       13.     The petitioner, the American Alliance for Solar Manufacturing, also filed a case




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brief on August 18, 2023. However, the petitioner did not argue that Commerce should alter the

benchmark calculations for the various inputs to exclude Xeneta ocean freight benchmark data.

       14.     On August 25, 2023, Plaintiffs submitted a rebuttal brief in response to certain

arguments made by the petitioner, and they incorporated the rebuttal arguments made by other

respondents to the extent that they did not conflict directly with arguments made by Plaintiffs.

       15.     On September 13, 2023, Commerce published in the final results of the seventh

administrative review of the countervailing order on crystalline silicon photovoltaic products

from the People’s Republic of China. See Final Results, 88 Fed Reg. at 62,770.

       16.     In the Final Results, Commerce made certain determinations regarding the nature

and calculation of the benefit received by Plaintiffs through LTAR programs on solar glass,

polysilicon, aluminum extrusions, and solar wafers. To construct the ocean freight benchmark

for the provision of these inputs for LTAR in the Final Results, Commerce relied exclusively on

the ocean freight data published by Descartes reasoning that the record does not establish that the

Xeneta data includes certain surcharges, including fees for U.S. port congestion, a Panama Canal

surcharge, emergency fuel surcharges, and a peak season surcharge. See Issues and Decision

Memorandum for the Final Results of the Administrative Review of the Countervailing Duty

Order on Certain Crystalline Silicon Photovoltaic Products from the People’s Republic of China;

2021 (Sept. 5, 2023), at 26–27 (“Final Decision Memo”). In other words, Commerce reversed its

decision in to average Xeneta ocean freight pricing data with Descartes ocean freight pricing data

the Preliminary Results, and it instead added ocean freight to the benchmark prices for these

various inputs based exclusively on ocean freight benchmark pricing published by Descartes.

       17.     In excluding the Xeneta ocean freight data, Commerce reasoned that, without

evidence that surcharges are included in the Xeneta ocean freight data, the Xeneta data are not




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reflective of market conditions an importer would actually pay for importation since they do not

include these surcharges. Id. As a result of these changes in the Final Results, Commerce

calculated a final ad valorem overall CVD rate for Trina of 13.21 percent. Final Results, 88 Fed.

Reg. at 62,771.

                        ISSUES PRESENTED BY THE ACTION AND
                          PLAINTIFFS’ STATEMENT OF CLAIMS

       18.     In the following respects, and for other reasons apparent from the record of the

administrative proceeding, Commerce’s Final Results in its countervailing duty administrative

review are not supported by substantial evidence, and are otherwise not in accordance with law.

                                          COUNT ONE

       19.     Paragraphs one through eighteen are incorporated herein by reference.

       20.     Commerce’s decision to base its calculation of international ocean freight charges

in its calculation of the benchmarks to measure the adequacy of remuneration of various inputs,

including polysilicon, solar glass, aluminum extrusions, and solar wafer exclusively on the

Descartes ocean freight data is not supported by substantial evidence and otherwise not in

accordance with law.


                  DEMAND FOR JUDGMENT AND PRAYER FOR RELIEF

For the reasons stated above, Plaintiffs respectfully request that the Court:

       (a)     enter judgment in Plaintiffs’ favor;

       (b)     declare that with respect to the issues raised in this Complaint,

       Commerce’s determinations and all related findings and conclusions are unsupported by

substantial evidence on the record or are otherwise not in accordance with law;

       (c)     remand these matters to Commerce for redetermination consistent with the

       Court’s opinion, including a recalculation of the margin for Trina; and


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      (d)    provide such other relief as the Court deems just and proper.


                                           Respectfully submitted,

                                           /s/ Jonathan M. Freed
                                           Jonathan M. Freed
                                           Kenneth N. Hammer
                                           MacKensie R. Sugama

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                                           Counsel for Plaintiffs

October 13, 2023




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               UNITED STATES COURT OF INTERNATIONAL TRADE

              Trina Solar Co., Ltd. et al. v. United States, Court No. 22-00219

                               CERTIFICATE OF SERVICE

       Pursuant to Rule 3(f) of the Rules of the Court of International Trade, I, Jonathan M.
Freed, hereby certify that on this 13th day of October, 2023, copies of the foregoing (1)
Summons; (2) Form 5 Information Statement; (3) Form 11 Notice of Appearance; (4) Form 13
Disclosure of Corporate Affiliations and Financial Interest; (5) Form 17 Business Proprietary
Information Certifications; and (6) Complaint were served by certified mail, return receipt
requested, on the following parties:


On behalf of The United States of America:

Attorney-in-Charge                               Jeanne Davidson, Esq.
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International Trade Field Office                 Commercial Litigation Branch – Civil Division
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On other counsel that represented interested parties before the U.S. Department of
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